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                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


              IN THE UNITED STATED DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA

O’NEAL STEEL, INC. and                  )
LEECO STEEL, LLC,                       )
                                        )
      Plaintiffs,                       )
                                        )         CIVIL ACTION NO.:
vs.                                     )
                                        )         CV _____________
WORLDWIDE STEEL                         )
UNLIMITED, INC.; GENERAL                )
PURPOSE STEEL, INC.; LANCE              )
CHATKIN; and                            )
BRUCE ADELSTEIN,                        )
                                        )
      Defendants.

                                 COMPLAINT

      Plaintiffs O’Neal Steel, Inc. and Leeco Steel, LLC, for their Complaint

against Defendants Worldwide Steel Unlimited, Inc., General Purpose Steel, Inc.,

Lance Chatkin, and Bruce Adelstein, state as follows:

                           NATURE OF THE CASE

      1.    This is an action under the Racketeer Influenced and Corrupt

Organizations Act (“RICO”) brought by Plaintiff O’Neal Steel, Inc., and Plaintiff

Leeco Steel, LLC, for violations of 18 U.S.C. §§ 1962(c) and (d), as well as for

fraud, misrepresentation, negligence and wantonness, civil conspiracy, and breach

of contract and warranty. It targets a criminal enterprise, as defined by RICO,

controlled by two persons who, through two corporations and various employees,
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fraudulently represented the quality of goods sold to enrich themselves and the

companies they controlled through unlawful means, including mail and wire fraud,

in disregard of possible personal injury, death, property damage or cost and

expense.

      2.     By virtue of this criminal enterprise, Defendants passed off inferior,

untested steel as steel meeting certain industry specifications and thereby induced

Plaintiffs to unknowingly buy the inferior, untested steel at inflated prices.

Plaintiffs, relying on Defendants’ representations and certifications that the steel

was tested and met the specifications in Plaintiffs’ purchase orders, then

unknowingly sold this inferior, untested steel to Plaintiffs’ customers as steel

meeting the customers’ specifications for applications for which it was potentially

dangerously unsuited. In fact, none of the steel sold by Defendants to Plaintiffs

had been tested either by the manufacturer or independent laboratories as

represented and certified by Defendants, and much of the steel did not in fact meet

the specifications in Plaintiffs’ purchase orders as represented and warranted by

Defendants. If the steel did meet the specifications, it was completely fortuitous

and not by virtue of test results as represented by Defendants.

      3.     Plaintiffs’   customers   included    the   United   States   Military,

manufacturers of railroad freight cars, manufacturers of bucket trucks used for

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repairing power lines and other items many feet high above ground, and

manufacturers of ladder trucks used in firefighting. Much of the steel ordered by

Plaintiffs was intended to be High Strength Low Alloy (“HSLA”) steel which is

stronger and tougher than carbon steel, and is durable, highly formable and

weldable. HSLA steel is intended primarily for use in structural applications

where strength, as well as savings in weight and added durability, is critical.

Furthermore, much of the steel ordered by Plaintiffs was intended to be steel with a

very high yield strength, or steel where strength is critical. Defendants knew or

must have known that the inferior, untested steel sold by them to Plaintiffs would

ultimately be used in applications where it was essential for safety that the steel

meet certain critical physical and chemical standards.             Nevertheless, and

knowingly or recklessly disregarding the danger posed by their sale of inferior,

untested steel, Defendants persisted in pursuing their illegal enterprise, resulting in

heavy equipment across the country and abroad containing safety-critical

components made of inferior, untested steel.

                          JURISDICTION AND VENUE

      4.     Plaintiff O’Neal Steel, Inc. (“O’Neal”) is an Alabama corporation

having its principal place of business located at 744 41st Street North,

Birmingham, Alabama, in Jefferson County, Alabama. O’Neal is a full-line metals

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service center which, among other things, locates and provides to its customers

requested standards and grades of steel.

      5.     Plaintiff Leeco Steel, LLC (“Leeco”) is an Alabama limited liability

company having a place of business located at 744 41st Street North, Birmingham,

Alabama, in Jefferson County, Alabama. Leeco is a subsidiary of O’Neal and is a

supplier of various types of steel, including carbon steel, HSLA structural steel

plate and alloy steel plate.

      6.     Defendant Worldwide Steel Unlimited, Inc. (“Worldwide”) is a steel

distribution and brokerage company. Worldwide is, on information and belief, a

Pennsylvania corporation with its principal place of business located at 1001 East

Entry Drive, Suite 200, Pittsburgh, Pennsylvania 15216, and a place of business at

4423 Renaissance Parkway, Cleveland, Ohio 44128. Worldwide does business in

Alabama and specifically in Jefferson County, Alabama.

      7.     Defendant General Purpose Steel, Inc. (“General Purpose”) is a steel

distribution and brokerage company. General Purpose is, on information and

belief, a Pennsylvania corporation with its principal place of business located at

505 Braddock Avenue, Turtle Creek, Pennsylvania 15145-2066, and a place of

business located in Decatur, Alabama. General Purpose does business in Alabama.




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      8.     Upon information and belief, Defendant Lance Chatkin resides at 300

Meadow Court, Monroeville, Pennsylvania 15146 and is a citizen of the

Commonwealth of Pennsylvania.

      9.     Upon information and belief, Defendant Bruce Adelstein resides at 18

Laurel Hill Lane, Pepper Pike, Ohio 44124 and is a citizen of the state of Ohio.

      10.    This Court has original jurisdiction over the civil RICO claim stated

herein pursuant to 28 U.S.C. § 1331 and 18 U.S.C. § 1964(a). This Court also has

subject matter jurisdiction over the action pursuant to 28 U.S.C. § 1332, because

the matter in controversy exceeds the sum of $75,000.00 and the parties are

citizens of different states. The Court may exercise supplemental jurisdiction over

the state law claims stated herein pursuant to 28 U.S.C. § 1367, as all of the claims

are inextricably intertwined.

      11.    Venue is proper in the Northern District of Alabama pursuant to 18

U.S.C. §§ 1965(a) and (b) because Defendant Worldwide transacts its affairs in

this judicial district, and because the ends of justice require that other parties

residing in other judicial districts be brought before this Court. Venue is also

proper under 28 U.S.C. § 1391 because a substantial part of the events or

omissions giving rise to the claims occurred in this judicial district.




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       12.    This Court has personal jurisdiction over each Defendant pursuant to

18 U.S.C. § 1965(d). Defendant General Purpose has a place of business in this

judicial district. Defendant Worldwide, at a minimum, transacted business in this

judicial district and one or more Defendants may be found to have an agent in or to

transact its affairs in this judicial district.

                                           FACTS

                                  Overview and Parties

       13.    For a number of years, O’Neal and Leeco purchased steel from

Worldwide or its predecessors.           According to information available from the

Pennsylvania Department of State, an entity named Worldwide Steel Unlimited,

Inc. was created on April 23, 2009, in the Commonwealth of Pennsylvania.

       14.    Prior to April 23, 2009, Worldwide and/or Bruce Adelstein and others

were doing business using various iterations of the name “Worldwide,” including

Worldwide Steel, LLC and Advance/Worldwide Steel. O’Neal’s contact person

and sales representative at Worldwide, Tom Macino, was always the same,

regardless of which name Adelstein and company were operating under at the time.

Leeco’s contact person and sales representative at Worldwide was Bob Wood, and

similarly, was always the same regardless of which name Adelstein and company

were operating under at the time.

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      15.   Upon information and belief, since April 2009, Worldwide has been

majority owned and/or controlled by Lance Chatkin. The remainder of Worldwide

is owned by Christina Nielsen.

      16.   Lance Chatkin is President of both General Purpose and Worldwide

according to the Pennsylvania Department of State’s database.

      17.   Upon information and belief, General Purpose was and is owned by

Lance Chatkin and/or his father, David Chatkin.

      18.   Upon information and belief, General Purpose provides, and has

provided since April 2009, operational support, including accounting, invoicing,

and collection services, for Worldwide, though, upon information and belief, it

does not own Worldwide.

      19.   Currently, the Registered Office Address for Worldwide, listed with

the Pennsylvania Department of State, is 1001 East Entry Drive, Suite 200,

Pittsburgh, Pennsylvania 15216.

      20.   Currently, the Registered Office Address for General Purpose, listed

with the Pennsylvania Department of State, is 505 Braddock Avenue, Turtle Creek,

Pennsylvania 15145.




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      21.   Worldwide and General Purpose share some of the same officers,

including Lance Chatkin, who is President of both entities, and Von Argyle, who

has represented himself as CFO for both entities.

      22.   Prior to the formation of Worldwide, Bruce Adelstein, Christina

Nielsen and Tom Macino worked for Advance Steel Company as part of

Advance/Worldwide. In 2009 they left Advance/Worldwide to join Lance Chatkin

in the formation of Worldwide. The actions by Adelstein, Nielsen and Macino

resulted in a lawsuit by Advance Steel Company against them. See Advance Steel

Co. v. Nielsen, No. 2:09-cv-13724 (E.D. Mich. Oct. 19, 2009).

                          General Business Operations

      23.   O’Neal is a full-line metals service center. A metal service center

serves as an intermediary between metal producers and the end users of metal

products. O’Neal inventories and provides a wide variety of standards and grades

and types of metal products primarily to original equipment manufacturers as well

as a variety of end users across a diverse customer base. Many of these original

equipment manufacturers and other end users are in the aerospace, agriculture,

appliance, construction, defense, distribution, fabrication, machinery, medical,

metal finishing, transportation and wind energy industries.




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      24.    Leeco is a specialty steel service center that inventories and supplies

steel plate product to the energy, heavy construction and general plate industries

and to fabricators, manufacturers and service centers. Leeco also supplies leveled

and flattened steel, cut from steel coil, to existing customers who need such steel.

      25.    Leeco and O’Neal maintain an inventory of steel from which they

supply some of their customers’ needs. When a customer requests a standard and

grade of steel that O’Neal and Leeco do not have in stock, they send out requests

for bids to several vendors believed to carry that type of steel, such as Worldwide,

to see who has the steel specified by the customer, the delivery time, and price.

When a bid is accepted, O’Neal or Leeco then send a purchase order to the vendor

confirming the specifications for the steel it is ordering. O’Neal’s and Leeco’s

purchase orders specify the standard and grade of steel being ordered.

      26.    In the steel industry, steel is bought and sold based upon the ASTM

standards and grades of steel. Throughout the industry, these standards and grades

are established by ASTM International (ASTM), which was originally known as

the American Society for Testing and Materials.          ASTM International is an

international standards organization that develops and publishes technical

standards for a wide range of products and materials, including steel. ASTM steel




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standards are grouped by the end-use or type of steel, and within each

classification there are certain steel types and strength grades.

      27.    For example, Leeco bought steel plate from Worldwide that was

purported to be certified to ASTM standard A656. The synopsis for ASTM’s

A656 standard describes the scope of the steel covered by the standard as follows:

             This specification covers three types and four strength grades of
             high-strength low-alloy, hot rolled structural steel plate for use
             in truck frames, brackets, crane booms, rail cars, and similar
             applications. Steels that conform to this specification offer
             improved formability. These steels are normally furnished in
             the as-rolled condition. The type and strength grade furnished
             is as agreed upon between the manufacturer and the purchaser.
             The types and strength grades are shown in the tables.

The standard identifies with great particularity the critical, structural end-use of the

steel – for “truck frames, brackets, crane booms, rail cars, and similar

applications.” The standard goes on to specify the chemical compositions required

for the various types of steel covered by the standard; the physical or mechanical

properties that the finished steel must have, measured in terms of yield strength,

tensile strength and elongation in order to meet the requirements for a particular

standard and grade; and the testing required to determine compliance with the

standard. For example, ASTM A656-80 steel, which generates a yield strength of




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not less than1 80,000 psi2, is of higher strength and durability than A656-50 steel,

which generates a yield strength of not less than 50,000 psi. Without the physical

testing required by ASTM, the steel does not meet any standard and grade and the

steel cannot be certified as meeting a standard and grade.

           28.     O’Neal and Leeco nominally purchased steel from Worldwide

represented and certified to be structural grade steel, such as that meeting the

above-described ASTM A656 standard, to be used in high-stress applications

critical for safety. O’Neal and Leeco paid a premium for what they thought was

high-end steel meeting these standards. O’Neal and Leeco purchased this steel

from Worldwide because Worldwide represented that it had the specified standards

and grades of steel available, not because the steel was discounted or in any other

way sold at a below-market price.

           29.     Without certification that steel meets a certain ASTM standard and

grade, and the testing to support that certification, the steel is used only for non-

structural applications, such as for counterweights. This steel is commonly called

“sink in water” or “33 max”3 steel in the industry. If steel is sold as sink in water


1
    Under ASTM standards, the specified grade gives the minimum yield requirement that the steel must meet.
2
  “Psi” refers to pounds per square inch. A similar term, “kpsi,” which refers to 1,000 psi, is also often used in the
industry. Kpsi is often abbreviated as “psi.” The ASTM standards refer to “80 psi,” which is equal to 80,000 psi.
For convenience, the abbreviation “psi,” together with the full numeric value, will be used throughout.
3
    “33 max” means that the steel contains a maximum of 33% carbon.

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or 33 max steel, the producing mill will specify only that the steel is 33 max or not

graded; there is no ambiguity as to whether steel falls into this category. Sink in

water steel is cheap when compared to steel that is certified as meeting ASTM

standards. A broker selling sink in water steel at prices generally paid for steel that

is certified to comply with ASTM standards will make a substantial, albeit

fraudulent, profit.

      30.    The ASTM standards and grades are well known to manufacturers,

brokers, suppliers and consumers of steel.         Certification that steel meets a

particular ASTM standard, and a particular grade within that standard, is essential

for the operation of the steel industry, and is the foundation upon which every

transaction rests.    ASTM standards determine how a mill produces the steel.

Certification that the steel meets ASTM standards and grades is how the end-user,

or customer fabricating the steel, knows that it is getting steel that is appropriate

for its intended purpose, and it is how a steel service center, such as O’Neal or

Leeco, knows that it is supplying its customer with the steel the customer orders.

      31.    In addition to the standard and grade, the purchase orders specify the

thickness, width and length of the product. Steel might be produced by a mill in

large plates of various sizes or in rolled coils of steel of varying thicknesses and




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widths, from which a buyer such as O’Neal or Leeco might cut and level portions

to specified lengths and widths.

      32.     Upon receipt of the purchase order, the vendor will generally ship the

steel to O’Neal or Leeco. These shipments may come from a variety of locations

across the country, as the steel is not always located at a facility owned or operated

by the vendor, but may be stored at the facility of a third party. Accompanying the

shipment, either physically or transmitted directly to O’Neal or Leeco by the

vendor at the time of the shipment, is a certification that the steel meets the

specified ASTM standard and grade and that it has specific chemical and physical

properties.

      33.     The certification received by O’Neal and Leeco at the time the steel is

shipped may take one of two forms: that of a “mill test report” or that of a

“certificate of conformance.”

      34.     In the steel industry, when a mill sells steel of a particular

specification it will provide a mill test report to its customer showing the ASTM

standards and grades, the chemical analysis of the steel, and the results of testing of

the steel’s physical properties, that is, the yield strength, tensile strength, and

elongation properties of the steel. The chemical analysis will be the same for each

product from a particular “heat,” or batch of molten steel, but depending on how it

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is further processed, products from a given heat can have different yield strength,

tensile strength and elongation properties (collectively, “physical properties”).

      35.    Sometimes a mill will have a heat of steel or a portion of a heat of

steel that does not meet the desired specifications or for some other reason is

deemed to be surplus. In that case, the mill will not test the steel to determine its

physical properties, but will sell the steel without being tested, and will not certify

the steel as meeting a particular grade. If this is the case, the mill will not provide

a mill test report, although the mill may provide a chemical analysis of the steel.

This steel may be purchased by buyers who then have its physical and chemical

properties tested by an independent lab. If the test results meet the criteria of a

particular ASTM standard and grade, the steel can be sold as meeting the

specifications of that standard and grade accompanied by a “certificate of

conformance” that the steel conforms to the required specifications and reflecting

the chemical and physical properties of the steel.

      36.    For plate or sheet steel that is cut from coil, a certificate of

conformance is required because coils are rolled by the mill to an ASTM coil

specification and the resulting coil steel cannot be certified to an ASTM plate or

sheet specification at the mill. This must be done after the coil steel has been cut

and leveled and test pieces, or “coupons,” have been cut and tested according to

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ASTM specifications. A certificate of conformance is then used to compile all of

the available information necessary to demonstrate compliance with ASTM

specifications, including the chemical analysis from the mill along with the

physical test data performed by the processor or an independent testing laboratory.

A mill test report alone would not contain adequate data to certify compliance with

ASTM specifications. 4

        37.      A certificate of conformance, which is prepared by the vendor or

processor rather than by the mill or a testing lab, certifies to the purchaser that the

steel is as represented and that the vendor is in possession of either a mill test

report or independent testing data to support the vendor’s representations as to the

standard, grade and chemical and physical properties of the steel.

        38.      Certificates of conformance that accurately transcribe test data are a

common and accepted industry practice, and the steel industry generally operates

smoothly in reliance upon the truth of these documents.

        39.      When O’Neal and Leeco buy steel, they require that the vendor

produce either a mill test report or a certificate of conformance certifying the

specified standard, grade and chemical and physical properties of the steel being

4
  There are other reasons that a vendor of steel would provide a certificate of conformance rather than a copy of the
actual mill test report or independent lab report. For instance, a vendor may not want its customer to know from
whom it purchased the steel, which may in some cases be a competitor service center or broker. This information is
usually shown on the mill test report and independent lab report.

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purchased. O’Neal and Leeco require that both the chemical analysis and the

physical test results of the steel be reflected on either the mill test report or the

certificate of conformance; a chemical analysis alone is not sufficient to establish

that the steel meets a certain standard and grade. If the steel is delivered with the

required documentation and accepted by the purchaser – here, for example, O’Neal

or Leeco – then the vendor will issue an invoice and the transaction will be

finalized.

      40.    Since Bruce Adelstein and company joined with Lance Chaktin and

General Purpose in May 2009 and began operating as Worldwide, O’Neal has

placed more than 136 orders with Worldwide and purchased more than 2520 tons

of what it believed to be certain standards and grades of steel from Worldwide.

Worldwide delivered at least 287 tons of steel to O’Neal at its principal place of

business in Jefferson County, Alabama, or delivered directly to O’Neal customers

in Alabama. The steel purchased by O’Neal from Worldwide was in the form of

leveled plates cut from rolled coils of steel.

      41.    Since May 2009, Leeco has placed more than 43 orders with

Worldwide and purchased more than 1361 tons of what it believed to be certain

standards and grades of steel from Worldwide. The steel purchased by Leeco from

Worldwide was in the form of leveled plates cut from rolled coils of steel and also

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in the form of “discrete plate,” or large, thicker plates of steel formed at a mill

rather than cut and leveled from a rolled coil of steel.

      42.    For each purchase of steel, at or around the time of shipment,

Worldwide provided O’Neal and Leeco with mill test reports or certificates of

conformance certifying that the steel being purchased by O’Neal and Leeco met

the particular ASTM standard and grade, such as ASTM A656-80, ordered by

O’Neal/Leeco or their customer.         The certificates of conformance included

chemical and physical test results and certified that the chemical and physical

properties shown “are transcribed from information provided by the Owner and the

Owner’s suppliers, including mills, recognized testing laboratories, etc.”      The

invoices sent by Worldwide to O’Neal and Leeco also represented the supposed

standards and grades of the steel sold. In fact, however, no mill test reports or

independent lab test reports establishing the physical properties, standards and

grades existed for the steel sold by General Purpose to Worldwide and then by

Worldwide to O’Neal and Leeco.

      43.    On information and belief, Worldwide purchased all the steel it sold to

O’Neal and Leeco from General Purpose. General Purpose purchased the steel it

sold to Worldwide from mills, including ArcelorMittal, as surplus, “as is,” or 33-

max steel for which no mill test reports were provided by the mills. Nor were any

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independent laboratory analyses performed by General Purpose or Worldwide to

establish the chemical or physical properties of the steel and that the steel met the

specifications that were being certified in the certificates of conformance and

represented to O’Neal and Leeco.

      44.    The only information provided by the mills to General Purpose was a

chemical analysis of the steel purchased. However, the chemical properties on the

certificates of conformance provided by Worldwide to O’Neal and Leeco often

differed, sometimes substantially, from the chemical properties that the mills had

provided to General Purpose or from the actual chemical properties as established

by subsequent independent testing ordered by O’Neal and Leeco after their initial

discovery of non-conformance.

      45.    Upon information and belief, prior to April 2009, the operations of

Worldwide’s predecessor were not intertwined with General Purpose. Instead,

Worldwide’s predecessor bought steel coils, tested them and entered the test results

in its own inventory system, and sold the cut and leveled steel from the coils to

customers such as O’Neal and Leeco based on mill test reports provided by the

mills or on the results of the tests that Worldwide’s predecessor had performed by

independent testing laboratories.




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        46.     Upon information and belief, after Bruce Adelstein and company

joined with Lance Chatkin and General Purpose and began operations as

Worldwide in May 2009, Worldwide purchased all or substantially all of the steel

it sold from General Purpose. When Worldwide received a purchase order from a

customer such as O’Neal or Leeco, Adelstein of Worldwide accessed General

Purpose’s inventory and determined which steel to include in fulfillment of that

order. After the steel was chosen by Adelstein, he instructed Rich Kuny to prepare

a certificate of conformance certifying that the steel met O’Neal’s or Leeco’s

specifications.5 Mr. Kuny then accessed a database kept by General Purpose or

asked employees of General Purpose, including Dick Diamondstone, for the

chemical and physical properties of the steel. If General Purpose, through its

database or employees, provided chemical and physical properties for the steel that

had been chosen by Adelstein, and if those properties were consistent with

O’Neal’s or Leeco’s specifications, Mr. Kuny would use the chemical and physical

properties provided by General Purpose. If, as often happened, there was no

information available on the chosen steel, or if the information conflicted with

O’Neal’s or Leeco’s specifications, Mr. Kuny was instructed by Adelstein to


5
  Upon information and belief, Dick Diamondstone at General Purpose prepared certificates of conformance for
Worldwide to provide to O’Neal and Leeco from the start of Worldwide’s operations in May 2009, until Rich Kuny
arrived at Worldwide in September 2009.

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prepare a certificate of conformance containing information that met O’Neal’s or

Leeco’s specifications.             Worldwide then transmitted the certificates of

conformance to O’Neal or Leeco directly, largely via email, and to locations across

the country for delivery with the steel sold to O’Neal or Leeco.

       47.     The Worldwide salesman that called on O’Neal, Tom Macino,

claimed that he received all information regarding the steel purportedly available to

meet O’Neal’s requests for bids, including the purported ASTM standards and

grades, directly from Bruce Adelstein.

       48.     The Worldwide salesman that called on Leeco, Bob Wood, received at

least some information regarding the steel available to meet Leeco’s requests for

bids, including the purported ASTM standards and grades, from Lance Chatkin at

General Purpose. For example, in January 2010 Chatkin provided the information

below to Christina (“Tina”) Nielsen at Worldwide, specifying the ASTM standards

and grades, and other physical properties, for certain steel available for purchase

from General Purpose. This information then was transmitted by Ms. Nielsen to

Bob Wood, and then by him to Leeco:

From: LANCE CHATKIN [mailto:lance@gpsi4steel.ccsend.com] On Behalf Of LANCE CHATKIN
Sent: Friday, January 08, 2010 7:16 AM
To: Tina Nielsen
Subject: Offerings from GENERAL PURPOSE STEEL

You're receiving this email because of your relationship with GENERAL PURPOSE STEEL. Please confirm your
continued interest in receiving email from us.
You may unsubscribe if you no longer wish to receive our emails.


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                       GPSI
        GENERAL PURPOSE STEEL INC


  Your #1 Flat Rolled Supplier
                   Has now become

Your #1 Plate Supplier
               YOU WILL NEVER GET LOST WITH US


3/16         96x240          A36           94,116        Memphis
             96x240        A572-50         116,827       Memphis
             96x288        A572-50         69,160        Memphis
 1/4         96x240          A36           137,362       Cleveland
             96x240        A572-50         148,606       Cleveland
             96x288        A572-50         82,195        Cleveland
             96x378        A572-50         99,790        Cleveland
5/16         96x240          A36           88,342        Memphis
             96x378        A572-50         99,656        Cleveland
 3/8         96x240          A36           126,235       Cleveland

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       1/2            72x120           A36              81,160    Cleveland
                      72x240         A572-50            126,406   Cleveland
       5/8            72x240         A572-50            96,160    Cleveland
                      72x494         A572-50            49,632    Cleveland
                      96x240         A572-50            88,216    Cleveland
       3/4            96x240           A36              121,960   Cleveland
                      96x288           A36              57,400    Memphis
                      96x240         A572-50            160,616   Cleveland
        1"            96x240           A36              146,028   Cleveland
                      96x240         A572-50            179,860   Cleveland
     1 1/4            96x240         A572-50            40,840    Cleveland
                      96x240          A588              42,640    Cleveland
     1 1/2            96x240         A572-50            49,800    Cleveland
                      96x240          A588              40,802    Cleveland
     1 3/4            96x240         A572-50            55,888    Cleveland
      2"              96x240         A572-50            130,068   Cleveland
     2 1/4            96x240         A572-50            45,300    Cleveland
  
      3"              96x240           A36              48,080    Cleveland
                                 GENERAL PURPOSE STEEL

                               LANCE CHATKIN   412-810-0222

                               MIKE MAZEROV    412-810-0228

                               DEAN SWANTEK    412-810-0225
 
 

 
                                                  
Forward email



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                49.     Until recently, O’Neal was not aware that Worldwide was involved in

       any way with General Purpose, or that any of the steel purchased from Worldwide

       came from or through General Purpose. Although O’Neal did not know this at the

       time it entered into the transactions with Worldwide, all invoices for purchases of

       steel from Worldwide were prepared at General Purpose’s offices in Turtle Creek,

       Pennsylvania. These invoices were sent via U.S. Mail to O’Neal at its principal

       offices in Jefferson County, Alabama. All payments for steel were directed from

       O’Neal’s offices in Jefferson County, Alabama, to Worldwide via a lockbox in

       Turtle Creek, Pennsylvania, over which Lance Chatkin had control.

                50.     Lance Chatkin, as President of both General Purpose and Worldwide,

       directed the activities of both entities. Had O’Neal known that Lance Chatkin and

       General Purpose were involved in Worldwide’s purportedly legitimate business, it

       would not have done business with their long-time salesman at Worldwide.

                51.     In conducting its business with Worldwide, O’Neal has acted by and

       through its officers and employees in Jefferson County, Alabama. Worldwide and

       its employees, in furtherance of the enterprise, communicated with O’Neal by


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telephone, e-mail and through the U.S. Mail, directing telephone calls, e-mails and

faxes, and sending letters, invoices and other documents to O’Neal at O’Neal’s

offices in Jefferson County, Alabama. Worldwide has shipped products to O’Neal

at O’Neal’s facilities in Jefferson County, Alabama, and has shipped the products

purchased by O’Neal by common carrier over the highways of the state of

Alabama.

      52.   Worldwide purchased at least one coil of steel from General Purpose

that was located in the state of Alabama for resale to O’Neal.        Specifically,

Worldwide purchased steel from General Purpose that was located at Feralloy

Southern in Decatur, Alabama, and shipped that steel to O’Neal in Birmingham,

Alabama.

                         Discovery and Details of Fraud

      53.   On March 3, 2010, Ryan Murphy, an employee of Leeco, received a

mill test report from Worldwide for a coil of steel that Leeco was planning to buy

for a customer. Mr. Murphy requested the mill test report prior to issuing a

purchase order, which was not his normal practice, because he recently had

concerns about the quality of unrelated steel of the same standard and grade. The

mill test report he received, which purported to come from steel manufacturer

ArcelorMittal, was in an Excel spreadsheet format. Mr. Murphy had never before

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received a mill test report in an Excel spreadsheet format; all prior mill test reports

he had received had been in a pdf format. The mill test report appeared to Mr.

Murphy to have been electronically cut and pasted together and did not appear to

be authentic. Mr. Murphy notified Leeco’s President and CEO, Denton Nordhues,

Leeco’s Vice President, Jason Fredstrom, and Leeco’s Vice President and CFO,

Mark Krzmarzick, that the mill test report did not appear to be genuine.

      54.    On March 4, 2010, Mr. Murphy compared the Excel mill test report to

another mill test report Leeco had received from Worldwide.               During this

comparison, Mr. Murphy noticed that the other mill test report, which was for

discrete plate, had the same style as that for the coil steel and indicated that the

plate was produced at ArcelorMittal’s Indiana Harbor Mill. Mr. Murphy knew

from past experience that ArcelorMittal did not produce steel plate of the indicated

thickness at its Indiana Harbor Mill. As a result, Mr. Murphy asked Bob Wood,

Leeco’s Worldwide sales representative, for copies of all mill and laboratory test

reports for all steel plate purchases. Mr. Murphy notified all Leeco personnel not

to sell any more steel plate purchased from Worldwide and not to purchase any

more steel plate from Worldwide.

      55.    On March 4 and March 5, 2010, Mr. Murphy had further

conversations with Bob Wood attempting to obtain an explanation for the

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apparently inauthentic mill test reports. Mr. Murphy told Mr. Wood that the mill

test reports did not appear authentic and that Leeco would reject the Worldwide

plate.

         56.   On March 9, 2010, Mr. Murphy received a copy of a letter from Lance

Chatkin, President of both General Purpose and Worldwide, and majority owner of

Worldwide, directed to Bruce Adelstein, Bob Wood, and Christina Nielsen at

Worldwide. This letter stated that it had come to the attention of General Purpose

that certain steel General Purpose sold to Worldwide was sold by Worldwide to

Leeco “with a [Mill] Test Report which differed in significant ways from the

correct one submitted by General Purpose to Worldwide.” Mr. Chatkin noted that

this raised “obvious concerns” that there might be other steel sold with “similarly

incorrect Chemical Analyses” and acknowledged the “potential magnitude of the

consequences which could occur as a result of such incorrect analyses being

supplied to customers.” Mr. Chatkin asked that Worldwide “complete a thorough

investigation.” The “correct” mill test reports that, according to Mr. Chatkin’s

letter, were submitted by General Purpose to Worldwide have never been produced

by either Worldwide or General Purpose.

         57.   In response to this letter, on March 10, 2010, Mr. Nordhues at Leeco

requested that Mr. Chatkin and General Purpose provide Leeco with any mill test

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reports, independent laboratory test results, chemical reports or other information

in its possession pertaining to 36 specified heats and sizes of steel plate that Leeco

had purchased from Worldwide, regardless of whether that information had been

provided by General Purpose to Worldwide.

      58.    On the same day, Mr. Nordhues requested that Bruce Adelstein at

Worldwide provide Leeco with all test reports or other chemistry and lab reports or

analyses, regardless of by whom prepared, related to 31 specified invoice numbers

for steel plate invoiced to Leeco by Worldwide.

      59.    On March 11, 2010, Bruce Adelstein and Bob Wood, on behalf of

Worldwide, sent a letter to Mr. Nordhues stating that the manufacturer,

ArcelorMittal, had requested return of all the steel plate Worldwide had sold to

Leeco, referencing “contaminated heat” numbers, and refusing to provide

additional information to Leeco. Plaintiffs have since learned that the claim that

ArcelorMittal had requested the return of the steel was false.

      60.    On March 11, 2010, Mr. Chatkin sent a letter to Mr. Nordhues

promising to provide Leeco all documentation General Purpose had provided to

Worldwide when it sold the specified steel plate to Worldwide.

      61.    Mr. Nordhues forwarded the Adelstein/Wood letter to Eric Smith at

ArcelorMittal on March 11, 2010, requesting “the real story,” and expressing

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surprise at ArcelorMittal’s demanding return of steel from Worldwide when it had

been sold to General Purpose. On March 12, 2010, Eric Smith wrote back to Mr.

Nordhues to say that ArcelorMittal had provided only the following guidance,

none of which was a demand, and none of which required return of the steel from

Leeco: 1) “it is possible that the use of the steel could present a safety hazard if

used based on the alleged characteristics shown in the incorrect certification”; 2)

“Customers and customers’ customers to whom the steel may have been sold

should be promptly contacted and advised of any safety concerns for use based on

the certificate”; and 3) “Because there may be legal actions or investigation, they

may want to maintain the materials in a safe and secure location, but this is entirely

their call.”    It is not clear whether ArcelorMittal provided this guidance to

Worldwide, to General Purpose, or to both entities.

      62.      On March 15, 2010, Elizabeth Argier at Leeco wrote Bob Wood

requesting the test reports for three heats. On March 16, 2010, Heather Wagoner at

Worldwide wrote to Mr. Nordhues and again stated that Worldwide did not want to

provide additional documentation for the steel it sold to Leeco.

      63.      On March 17, 2010, Mr. Nordhues wrote Mr. Adelstein and Mr.

Wood at Worldwide to say that it had shipped over 220 tons of Worldwide discrete

plate to over 20 customers, listing the heat numbers for steel already shipped to

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customers for which information is needed, and demanding correct test reports by

March 19, 2010.

      64.   On March 17, 2010, Mr. Chatkin wrote Mr. Nordhues stating that all

further inquiries should be directed to Worldwide.      Neither Mr. Chatkin nor

General Purpose have provided any of the test reports or other documentation that

it allegedly provided to Worldwide.

      65.   On March 19, 2010, Worldwide provided Mr. Nordhues the

ArcelorMittal bills of lading showing the chemical properties for sixteen heat

numbers listed in Mr. Nordhues’ letter of March 17, 2010. Comparison of the

chemical properties contained in the ArcelorMittal documents with the certificates

of conformance or purported mill test reports provided by Worldwide at the time of

purchase revealed that the chemical properties provided by the mill did not always

match the chemical properties represented by Worldwide.

      66.   Furthermore, in the letter accompanying these documents, Worldwide,

through Mr. Adelstein, confirmed that none of the physical properties shown on

the purported certificates of conformance or mill test reports supplied by

Worldwide were supported by testing performed by the manufacturer or testing

performed by an independent lab at the request of either Worldwide or General

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            As for additional paperwork pertaining to the physicals shown
            for these plates, we have determined that all such information
            concerning the physical properties for these heat numbers listed
            in Exhibit A is unreliable, Physical reports were determined by
            comparing several random test results that were done and
            applying them to the other heats based on the chemistries that
            were shown.

            It is important that an independent test be done on each suspect
            heat number to determine exactly what the tensile, yield, and
            elongation are.

      67.   Without actual physical test results, there can be no ASTM standard

or grade assigned to the steel. Therefore, without supporting physical test results,

all of the representations by Worldwide, General Purpose, Chatkin and Adelstein

as to the supposed standards and grades of steel being sold to O’Neal and Leeco,

whether made directly or through Tom Macino or Bob Wood, were false. These

misrepresentations included not only the false mill test reports and certificates of

conformance for each purchase made by O’Neal and Leeco, but also every

response to request for bid and invoice for each purchase, as each of these

communications included ASTM standards and grades information for which there

was no support whatsoever.

      68.   On March 11, 2010, upon learning of the misrepresentations made to

Leeco by Worldwide about the discrete plate steel, Jodi Parnell at O’Neal decided

to test the steel cut from coil which O’Neal had purchased from Worldwide. Ms.

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Parnell had samples from such steel which was still at O’Neal’s warehouse in

Birmingham tested by an independent laboratory.

      69.     The steel O’Neal initially tested was represented by Worldwide to be

shown on a mill test report or on an independent laboratory test in Worldwide’s

possession as ASTM A656 Grade 80 steel. At the time of purchase, Worldwide

had provided O’Neal a certificate of conformance certifying that Worldwide had

either a mill test report or independent lab test results showing the steel to meet the

ASTM A656 Grade 80 yield requirement of 80,000 psi, with the actual yield

strength for the steel based on the results of physical tests stated on the certificate

of conformance delivered with the steel as 82,100 psi. O’Neal’s post-discovery

independent test results revealed that the steel did not meet the ASTM yield

requirement as represented by Worldwide, but instead had a yield strength of only

63,300 psi.

      70.     On March 12, 2010, after learning that the Grade 80 steel had failed to

meet the represented specifications, Ms. Parnell called Tom Macino, O’Neal’s

sales representative at Worldwide, and requested copies of mill test reports and

independent lab tests on all of O’Neal’s steel purchases from Worldwide.

      71.     On March 16, 2010, Mr. Macino called Ms. Parnell and told her that

something was terribly wrong, that he had been selling steel that had been

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represented to him by others as being something it was not, and that he was

stunned by the revelation. Mr. Macino said that General Purpose provided all of

the analysis, including physical test data, on which he had based his sales to

O’Neal. However, after Ms. Parnell brought the issue of the failed A656 Grade 80

steel to his attention on March 12, 2010, Mr. Macino called General Purpose and

asked for the actual physical test data from the lab, assuming that General Purpose

had made some mistake. Mr. Macino reported to Ms. Parnell that he was not able

to get anyone to provide him with the test results he had requested, causing him to

believe that no tests were ever run and that the steel sold by Worldwide had never

been tested. Mr. Macino recommended quarantining all the material that O’Neal

still had on hand since he could find no evidence that it had ever been properly

tested.

      72.     After this telephone conversation with Mr. Macino, Ms. Parnell was

informed the same day that another batch of steel, cut from coil, and represented to

be ASTM A1011 Grade 50, had “failed testing in a big way.” ASTM standards

require, among other things, that this steel have a yield strength of 50,000 psi, and

the certificate of conformance represented that physical tests resulted in a yield

strength of 52,600 psi. However, independent physical testing revealed that the

steel actually had a yield strength of 34,500 psi.

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      73.   Despite Mr. Macino’s representation that he could find no test data to

support the false certificates of conformance, whether at General Purpose or at

Worldwide, Mr. Macino later told Ms. Parnell that he was looking for the testing

information and that he had in fact found it. Specifically, on March 18, 2010, Ms.

Parnell called the main number at Worldwide. The phone was answered by Mr.

Macino, who told her that they were pulling the testing information together but

that he did not have it yet. On March 30, 2010, Mr. Macino told Ms. Parnell that

they had all of the testing data, but that it was spread out between two conference

rooms and that Lance Chatkin, among others, was trying to match the test results to

the purchase orders.     No test results supporting the false certificates of

conformance were ever provided to O’Neal.

      74.   Subsequently, Rich Kuny revealed that, upon his joining Worldwide

in September 2009, and at the direction of Bruce Adelstein, he began to regularly

prepare certificates of conformance to accompany the steel purchased by O’Neal

and Leeco from Worldwide.        At times the information in the certificates of

conformance was based upon information provided by General Purpose

employees, including Dick Diamondstone, or in the General Purpose inventory

system, but at other times the information was wholly fabricated to match customer

specifications. Prior to Mr. Kuny’s arrival at Worldwide in September 2009, Mr.

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Kuny revealed that the certificates of conformance provided to O’Neal and Leeco

were prepared by Mr. Diamondstone at General Purpose. According to Mr. Kuny,

Mr. Adelstein chose the steel used to fulfill each order, and Mr. Kuny was

instructed by Mr. Adelstein to fill in the certificates of conformance so that the

physical and chemical properties shown met the customer’s specifications,

regardless of the steel’s actual properties.

      75.    All of the certificates of conformance and mill test reports provided

by Worldwide to O’Neal and to Leeco were false, in that they purported to

represent the results of physical testing performed upon the steel sold by

Worldwide that was never performed.

      76.    After discovering that some of the steel it purchased from Worldwide

did not meet the specifications represented on the respective certificates of

conformance, O’Neal began having all of the steel that it had purchased from

Worldwide and which was still in O’Neal’s warehouses or located at customers’

facilities and available tested at independent test labs. To date, approximately 60%

of the steel tested by O’Neal has failed to meet the specifications represented by

Worldwide on the certificates of conformance provided to O’Neal.

      77.    Likewise, already aware the plate steel obtained from Worldwide did

not conform, Leeco began having any coil steel it purchased from Worldwide that

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was available for testing independently tested.                           Of the steel tested by Leeco,

approximately 40% has failed to meet the specifications represented by Worldwide

on the certificates of conformance provided to Leeco.

           78.     The results of the independent tests performed by O’Neal and Leeco

revealed that the actual physical and chemical properties of the steel differed

materially from those required by the ASTM standards and grades of steel O’Neal

and Leeco thought they were buying, and from the standards, grades and physical

and chemical properties represented on the certificates of conformance or mill test

reports provided by Worldwide.

           79.     For example, physical tests performed on steel purchased by O’Neal

from Worldwide pursuant to the following purchase orders revealed that the steel

failed to meet the yield strength necessary to certify the steel as meeting the

indicated ASTM standards and grades, and as represented on Worldwide’s

certificates of conformance, which were therefore demonstrably false:

    PO #           PO Date        PO Specs                    ASTM       WW            Actual Tested
                                                              Required   Cert.         Yield
                                                              Yield6     Yield
    2198206        7/17/09        Plate A572G50               50,000 psi 63,700        42,700 psi
    -OP-230                                                              psi
    2199837        8/4/09         Sheet A1011                 50,000 psi 54,000        39,800 psi
    -OP-119                       HSLAS GR50                             psi

6
    ASTM standards specify this as the minimum required yield strength.

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PO #       PO Date   PO Specs              ASTM         WW       Actual Tested
                                           Required     Cert.    Yield
                                           Yield6       Yield
2200839    8/12/09   Sheet A656G80         80,000 psi   84,500   71,700 psi
-OP-222                                                 psi
2207061    10/20/09 Plate A572G50          50,000 psi   56,200   43,700 psi and
-OP-119             TYII                                psi      46,100 psi
2212255    12/27/09 Plate A572GR50         50,000 psi   56,200   47,400 psi and
-OP-119             TYII                                psi      52,400 psi
2210877    12/7/09 Plate A572G60           60,000 psi   62,600   48,600 psi
-OP-230             Tmpr pass                           psi
2212201    12/23/09 Plate A656-70          70,000 psi   76,200   59,900 - 63,900
-OP-119             Type 3                              psi      psi
2212201    12/23/09 Plate A656-70          70,000 psi   73,200   56,900 - 61,600
-OP-119             Type 3                              psi      psi
2212201    12/23/09 Plate A656-70          70,000 psi   73,100   48,400 - 52,000
-OP-119             Type 3                              psi      psi
2212202    12/23/09 Plate A1018 Gr70       70,000 psi   77,800   51,300 psi
-OP-119             TY                                  psi
2212205    12/23/09 Plate A572G50          50,000 psi   56,200   43,700 psi
-OP-119             TYII                                psi
2212217    12/29/09 Plate A656G80          80,000 psi   94,200   66,000 psi
-OP-128                                                 psi
2213828    1/18/10   Plate A572GR60        60,000 psi   62,000   43,800 psi
-OP-230                                                 psi
2213876    1/18/10   Plate A572G60         60,000 psi   62,400   41,800 psi
-OP-230                                                 psi
2214400    1/21/10   Plate A572GR60        60,000 psi   63,000   54,900 psi
-OP-230                                                 psi
2214527    1/22/10   Sheet A1011           50,000 psi   52,600   34,500 psi
-OP-101              HSLAS GR50                         psi
2214814    1/26/10   Plate A656G80         80,000 psi   82,400   59,500 psi
-OP-244                                                 psi
2215225    1/29/10   Plate A572G50         50,000 psi   52,400   38,500 psi
-OP-135                                                 psi
2216011    2/5/10    Plate A572GR60        60,000 psi   64,300   43,000 psi
-OP-230              Tmpr pass                          psi

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 PO #         PO Date   PO Specs               ASTM         WW       Actual Tested
                                               Required     Cert.    Yield
                                               Yield6       Yield
 2216012      2/5/10    Plate A572GR60         60,000 psi   62,800   43,700 psi
 -OP-230                                                    psi
 2217077      2/17/10   A1011 HSLA-F           80,000 psi   82,600   56,300 psi
 -OP-224                GR80                                psi
 2217296      2/18/10   A572G60                60,000 psi   62,000   38,300 psi
 -OP-230                                                    psi
 2217394      2/19/10   Plate A656G80          80,000 psi   82,100   67,800 psi
 -OP-119                                                    psi      (3/8” material)
 2217852      2/24/10   Plate GR80             80,000 psi   82,100   67,800 psi
 -OP-101                                                    psi      (3/8” material)
 2218521      3/2/10    Plate A656G80          80,000 psi   83,200   64,500 psi
 -OP-244                                                    psi
 2218521      3/2/10    Plate A656G80          80,000 psi   84,200   71,500 psi
 -OP-244                                                    psi
 2218882      3/5/10    Plate A656G80          80,000 psi   82,800   69,000 psi
 -OP                                                        psi


        80.   In addition, chemical tests performed on steel purchased by O’Neal

from Worldwide pursuant to the following purchase orders failed to meet the

copper content required by the customer and represented on Worldwide’s

certificates of conformance, which were therefore demonstrably false. O’Neal’s

customer for this steel intended it to be used in rail freight cars, and it was

essential, as specified in the purchase orders, that the copper content of the steel be

greater than .20. As the test results demonstrate, the actual copper content, which

was provided to General Purpose by the mills, was much lower than represented:


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PO #               PO Date    PO Specs             Worldwide     Actual
                                                   Certified     Copper
                                                   Copper        Content
                                                   Content
2197868-OP-119     7/15/09    Plate A36 with .20   .210          <.01
                              Min Cu.
2197868-OP-119     7/15/09    Plate A36 with .20   .220          .01
                              Min Cu.
2197868-OP-119     7/15/09    Plate A36 with .20   .200          .05
                              Min Cu.
2197868-OP-119     7/15/09    Plate A36 with .20   .210          .08
                              Min Cu.
2197868-OP-119     7/15/09    Plate A36 with .20   .220          .09
                              Min Cu.
2197780-OP-119     7/14/09    Plate A36 with .20   .210          .08
                              Min Cu
2207061-OP-119     10/20/09   Plate A572G50 Type   .25           .010
                              II with .20 Min Cu
2197780-OP-119     7/14/09    Plate A36 with .20   .220          .010
                              Min Cu
2197775-OP-119     7/14/09    Plate A36 with .20   .220          .010
                              Min Cu
2197775-OP-119     7/14/09    Plate A36 with .20   .21           .03
                              Min Cu
2197776-OP-119     7/14/09    Plate A36 with .20   .21           .03
                              Min Cu
2197776-OP-119     7/14/09    Plate A36 with .20   .228          .01
                              Min Cu
2197774-OP-119     7/14/09    Plate A36 with .20   .224          .070
                              Min Cu
2206982-OP-119     10/20/09   Plate A572 GR 50     .25           .011
                              with .20 Min Cu
2206983-OP-119     10/20/09   Plate A36 with .20   .25           .012
                              Min Cu
2197777-OP-119     7/14/09    Plate A36 with .20   .210          <.02
                              Min Cu


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PO #                 PO Date    PO Specs                Worldwide     Actual
                                                        Certified     Copper
                                                        Copper        Content
                                                        Content
2197771-OP--119      7/14/09    Plate A36 with .20      .210          <.02
                                Min Cu
2199559-OP-119       7/31/09    Plate A36 with .20      .210          .120
                                Min Cu
2206980-OP-119       10/20/09   Plate A36 with .20      .25           .12
                                Min Cu
2206985-OP-229       10/20/09   Plate A36 with .20      .23           .08
                                Min Cu
2193953-OP-229       6/3/09     Plate 572-50 with .20   .208          .07
                                Min Cu
2193953-OP-229       6/3/09     Plate 572-50 with .20   .211          .06
                                Min Cu
2206979-OP-119       10/20/09   Plate A36 with .20      .24           .08
                                Min Cu


       81.   Likewise, physical tests performed on steel purchased by Leeco from

Worldwide pursuant to the following purchase orders revealed that the steel failed

to meet the yield strength necessary to certify the steel as meeting the indicated

ASTM standards and grades and represented on Worldwide’s certificates of

conformance, which were therefore demonstrably false:

PO #     PO Date PO Specs           ASTM            Worldwide       Actual Tested
                                    Required        Certified       Yield
                                    Yield           Yield
M478     6/19/09   100 XF           100,000 psi     101,300 psi     87,200 psi
                   100PSI-AR
M744     7/19/09   100 XF           100,000 psi     103,800 psi     74,300 psi
                   100PSI-AR

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PO #     PO Date PO Specs           ASTM            Worldwide       Actual Tested
                                    Required        Certified       Yield
                                    Yield           Yield
M744     7/19/09   100 XF           100,000 psi     102,800 psi     82,100 psi
                   100PSI-AR                                        and 87,100
                                                                    psi
N230 2/9/10        A656 GR 80       80,000 psi      82,100 psi      69,900 psi
M1047 11/6/09      A656 GR 80       80,000 psi      86,200 psi      51,800 -
                                                                    52,800 psi
M598     7/20/09   A656 GR 80       80,000 psi      89,700 psi      73,400 psi;
                                                                    59,000 psi;
                                                                    60,800 psi
N026 1/7/10    A656 GR 80           80,000 psi      82,300 psi      62,600 psi
M687 8/7/09    A656 GR 80           80,000 psi      83,100 psi      71,000 psi
M1013 10/22/09 100 XF               100,000 psi     103,000 psi     84,500 psi
               100PSI-AR
M864 9/14/09 100 XF                 100,000 psi     103,600 psi     91,900 psi
               100PSI-AR                                            83,100 psi
M527 7/1/09    100XF                100,000 psi     100,900 psi     86,100 psi
               100PSI-AR


       82.   Furthermore, information provided by the purported manufacturer,

ArcelorMittal, confirmed that the mill test reports supplied by Worldwide to Leeco

for the following heat numbers were wholly fabricated:

PO#                  PO Date         PO Specs                          Heat #
M689                 8/10/09         A656 GR 80                        25612
N108                 1/20/10         A1011 GR 55                       C50981
N118                 1/21/10         A36: HR Plate                     H8019
N117                 1/21/10         ASTM A572-50: Discrete Plate      D7428
N116                 1/21/10         A36: Plate                        R0396
N119                 1/21/10         ASTM A572-50: Discrete Plate      D7638
N116                 1/21/10         A36: Discrete Plate               R0961
N151                 1/27/10         ASTM A572-50: Discrete Plate      D9451

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PO#                     PO Date        PO Specs                          Heat #
N152                    1/27/10        A36: HR Plate                     H8038
N151                    1/27/10        572-50: Steel Plates              D8975
N152                    1/27/10        A36: Discrete Plate               R0961
No PO (was for          3/03/10        HR HY 80: High Strength Low       98215
steel Leeco was                        Alloy Hot Band
contemplating
purchasing)

         83.   The   independent   testing    performed   by   O’Neal   and   Leeco

demonstrated that most of the steel provided to Leeco and O’Neal by General

Purpose, through Worldwide, failed to meet the specifications on O’Neal’s and

Leeco’s purchase orders, which were the specifications required by O’Neal’s and

Leeco’s customers, and the specifications represented and warranted by

Defendants.

         84.   Neither O’Neal nor Leeco would have purchased steel that did not

meet their customer’s specification. Plaintiffs reasonably relied on the information

provided by Worldwide, General Purpose, Chatkin and Adelstein in purchasing the

steel.

         85.   By falsifying the mill test reports and certificates of conformance

provided to O’Neal and Leeco, both Worldwide and General Purpose, in addition

to Lance Chatkin and Bruce Adelstein, were able to sell inferior, untested product




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as substantially better and more expensive product, meeting exacting ASTM

specifications, thus generating illicit profits for themselves.

      86.    Had O’Neal and Leeco not discovered these false mill test reports and

certificates of conformance, Worldwide, General Purpose, Lance Chatkin and

Bruce Adelstein would have continued to perpetuate their enterprise, as this was

their established method of doing business.

      87.    In fact, General Purpose and Chatkin supplied another customer of

General Purpose, Brownsville Marine, directly with totally fabricated mill test

reports that were identical in form to the mill test reports provided to Leeco

through Worldwide. In October 2009, Brownsville Marine received a total of 24

fabricated mill test reports sent by General Purpose and Chatkin. Brownsville

Marine tested the steel and some specifications differed from those on the mill test

reports provided by General Purpose.            These mill test reports, which were

demonstrably false according to the manufacturer of the steel, ArcelorMittal,

permitted General Purpose and Chatkin in that instance to convince a customer to

purchase inferior steel at an inflated price, thus permitting General Purpose and

Chatkin to reap the profits.




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                                      Damages

      88.    The steel purchased by O’Neal and Leeco from Worldwide since May

2009 was sold to customers for use in a variety of products. A large portion of the

steel O’Neal and Leeco thought they were purchasing from Worldwide was

intended and represented to be HSLA steel which is for use in applications where

strength is crucial. Worldwide was aware that O’Neal and Leeco were purchasing

the steel for resale and that it was imperative that the steel meet the required

standards and grades to be sufficient for the application for which the steel would

be used. As stated, steel of this nature is used in applications where the quality and

strength of the steel is crucial. For example, some of the steel was re-sold by

O’Neal and Leeco for use in military Humvees and armored vehicles. These

vehicles were deployed to Afghanistan, Iraq and Israel; use of inferior, untested

steel in these vehicles put the lives of U.S. Military personnel serving in these

countries at risk. Other steel was sold for use in the booms on bucket trucks and in

the ladders on hook and ladder fire trucks. Still other steel was sold for use in

railroad freight cars. The conduct of Worldwide, General Purpose, Lance Chatkin

and Bruce Adelstein could have had significant impact upon the military

personnel, fire fighters, and other end users of the products if the steel had failed in

the field because it was not of the standards and grades represented.

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        89.      To further compound the damages incurred by O’Neal and Leeco,

many of O’Neal’s and Leeco’s customers lost traceability of the steel once it

reached a certain point in the manufacturing process. At this point, O’Neal’s and

Leeco’s customers could no longer determine into which finished products the

potentially defective steel was incorporated. The only recourse was to recall and

replace7 or test all products that could have been manufactured with the

Worldwide/General Purpose steel ― a very expensive process for which O’Neal

and Leeco have borne a heavy burden.

        90.      O’Neal and Leeco have incurred significant damages in testing the

steel purchased from Worldwide and in testing or replacing the products made (or

that could have been made) from the Worldwide/General Purpose steel. O’Neal

has also incurred significant damages in procuring replacement steel at a higher

price to supply to customers.

        91.      To date, O’Neal and Leeco have been forced to resolve potential

claims with their customers totaling in excess of $5,500,000.00 by virtue of

O’Neal’s and Leeco’s providing potentially non-conforming steel purchased from

Worldwide in violation of the contracts with their customers. As early as April 5,

2010, O’Neal wrote to Worldwide instructing Worldwide that, although the full

7
 In some cases replacement was the best option, since testing either would weaken the integrity of the products,
would be more expensive than testing or would be inconclusive.

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impact of the situation was not yet known, O’Neal would hold Worldwide

responsible for all costs incurred by O’Neal and by O’Neal’s customers. O’Neal

received no response.8

        92.      Counsel for O’Neal and Leeco formalized this position with a letter to

counsel for General Purpose and Worldwide on May 12, 2010, informing them of

the magnitude of damages suffered by Plaintiffs’ customers and inviting both

entities to participate in communicating with customers regarding resolution of

those claims.          O’Neal and Leeco received no response other than a denial of

liability. O’Neal and Leeco then proceeded to finalize the resolution of the claims

of their customers. The total amount of this resolution does not reflect the total

amount of O’Neal’s and Leeco’s exposure and potential damages, as Leeco and

O’Neal may be exposed to liability by virtue of other non-conforming steel that

may be incorporated into end products of other customers to an extent not yet

known.

        93.      In addition to the above damages, the conduct of Worldwide, General

Purpose, Lance Chatkin and Bruce Adelstein has been damaging to the business

reputations of O’Neal and Leeco, as they have had to inform all of their customers

8
  In fact, sometime after April 5, 2010, a salesman for O’Neal drove past the Worldwide office in Cleveland, Ohio,
and found that the office was closed, with signs of a hasty departure. O’Neal and Leeco subsequently discovered
that Worldwide, to the extent it continued operations, was using the offices of General Purpose in Pittsburgh,
Pennsylvania.

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to which the Worldwide/General Purpose steel was sold about the non-conforming

steel. This may result in loss of future business and loss of profits to O’Neal and

Leeco.

          COUNT I—RICO VIOLATION UNDER 18 U.S.C. § 1964(c)

       94.    Plaintiffs repeat and reallege each of the allegations contained in

paragraphs 1 through 93 as if fully set forth herein.

       95.    RICO, the Racketeer Influenced and Corrupt Organizations Act, 18

U.S.C. §§ 1961-68, provides a private civil action to recover treble damages for

“any person injured in his business or property by reason of a violation of section

1962.” 18 U.S.C. § 1964(c).

       96.    At all relevant times, O’Neal and Leeco were “persons” within the

meaning of RICO, 18 U.S.C. §§ 1961(3) and 1964(c).

       97.    Under 18 U.S.C. § 1962(c), it is unlawful “for any person employed

by or associated with any enterprise . . . to conduct or participate, directly or

indirectly, in the conduct of such enterprise’s affairs through a pattern of

racketeering activity. . . .”

       98.    At all relevant times, Worldwide, General Purpose, Lance Chatkin

and Bruce Adelstein were “persons” within the meaning of RICO, 18 U.S.C. §§

1961(3) and 1962(c).

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       99.    At all relevant times, Worldwide, General Purpose, Lance Chatkin

and Bruce Adelstein, together with Rich Kuny, Tom Macino, Bob Wood, Christina

Nielsen, Von Argyle and Dick Diamondstone, among others, formed an

association-in-fact enterprise as defined by 18 U.S.C. § 1961(4) that was and is

engaged in, and its activities affect, interstate and foreign commerce, within the

meaning of RICO, 18 U.S.C. § 1962(c).            The structure and purpose of the

enterprise involved the sale and distribution of inferior, untested steel nationwide.

In addition to its legal and legitimate activities, if any, the enterprise was used by

Defendants for racketeering activity through a pattern of sending fraudulent

certificates of conformance and mill test reports through mail and wire causing

injury to the property and business of Plaintiffs.

       100. Due to the sale of inferior, untested steel represented to be of a

certain, higher quality and the savings from not performing the required tests on

the steel, the enterprise profited from its activities.           Each member of the

association-in-fact enterprise had a common goal and purpose of making money

from the sale and distribution of fraudulently certified steel.

       101. At all relevant times, each Defendant, as a result of position and

control, was able to participate in the operation and management of the enterprise

by directing its affairs.

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      102. Each Defendant worked together in distributing steel to Plaintiffs

while creating fraudulent certificates of conformance and mill test reports as stated

above.

      103. At all relevant times, Worldwide, General Purpose, Lance Chatkin

and Bruce Adelstein knowingly and willfully associated with the association-in-

fact enterprise and conducted and participated in the conduct of the enterprise's

affairs, directly and indirectly, through a “pattern of racketeering activity” within

the meaning of RICO, 18 U.S.C. § 1962(c).

      104. Specifically, Worldwide, General Purpose, Lance Chatkin and Bruce

Adelstein engaged in “racketeering activity” within the meaning of 18 U.S.C. §

1961(1)(B) by engaging in the acts set forth above. The acts set forth above

constitute a violation of one or more of the following statutes: 18 U.S.C. § 1341

(Mail Fraud) and 18 U.S.C. § 1343 (Wire Fraud). Worldwide, General Purpose,

Lance Chatkin and Bruce Adelstein each committed, directed or approved the

commission of two or more of these acts of racketeering activity.

      105. Each act of mail or wire fraud, as set forth in the facts, was sent by,

directed or approved by Defendants providing fraudulent certifications and test

results sent and relied on by Plaintiffs which crossed state lines from various states

into Alabama.

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      106. The above facts demonstrate Defendants knowingly devised and

participated in a scheme to defraud Plaintiffs, this was done willingly with an

intent to defraud, and Defendants used the United States mails and interstate wires

for the purpose of executing the scheme.

      107. The acts referred to constituted a “pattern of racketeering activity”

within the meaning of RICO, 18 U.S.C. § 1961(5). The acts alleged were related

to each other by virtue of common participants, common victims, a common

method of commission (fraudulent certificates of conformance and mill test

reports), and the common purpose and common result of the racketeering activities

being interrelated by distinguishing characteristics. The predicate acts committed

by Defendants had the common purpose and common result of inducing Plaintiffs

to accept inferior, untested steel through the method of falsifying mill test reports

and certificates of conformance transported through mail or wire in order to profit

financially.

      108. The predicate acts referred to above constituted a “pattern of

racketeering activity” and demonstrate continuity. Defendants committed multiple

acts of mail and wire fraud over a substantial amount of time as demonstrated by

the communications specified above.




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      109. Defendants mailed and wired fraudulent mill test reports, certificates

of conformance and invoices to Plaintiffs on numerous occasions as specified in

the facts above.

      110. Defendants furthered their fraudulent scheme after inquiry from

Plaintiffs by having telephone conversations and by sending emails, facsimiles or

letters giving fraudulent explanations and fraudulently omitting material facts in

their communications which caused Plaintiffs further damage by causing Plaintiffs

to delay in communicating with their customers the extent of the situation.

      111. If not for the awareness of Leeco in uncovering the pattern of

racketeering activity, the actions of Defendants would still continue against

O’Neal, Leeco and others. Defendants had no intention to stop the pattern of

racketeering activity until O’Neal and Leeco discovered the activities. As stated

above, at least one other third party, Brownsville Marine, has been harmed in

similar ways by members of the enterprise further evidencing that such

racketeering activities are a “way of business” by the enterprise and its members.

      112. O’Neal and Leeco relied upon the misrepresentations and omissions

directed at Plaintiffs by Defendants as part of their pattern of racketeering activity,

and as a direct result suffered damage to their business and property.




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      113. Lance Chatkin, as majority owner of Worldwide and in his official

capacity as President of General Purpose and of Worldwide, directly and indirectly

conducted the racketeering activities through the enterprise by directing the

communication through mail or wire and furnishing the false information through

Rich Kuny, Dick Diamondstone and others.

      114. Bruce Adelstein, as an acting representative of Worldwide, knowingly

and directly or indirectly conducted the racketeering activities through the

enterprise by directly or indirectly sending, or approving the sending of, fraudulent

representations through the mail or by wire to Plaintiffs and directing Rich Kuny

and others to do so.

      115. Worldwide and General Purpose, through their executives, managers,

employees and agents, failed to perform the required testing on steel product sold

to Plaintiffs and then committed predicate acts under RICO by sending false

information and test results through the mail or by wire.

      116. Plaintiffs have incurred injury to their business or property by having

to replace the inferior, untested steel distributed by Defendants as a result of the

racketeering activities or by having to compensate their customers for damages

sustained by virtue of nonconforming, or potentially nonconforming, steel already

incorporated into final products.    Plaintiffs have further suffered loss to their

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business through the embarrassment and injury to reputation and goodwill that they

have worked for so many years to achieve through relationships with their

customers.

      117. The injury to Plaintiffs’ business or property was proximately caused

by Defendants’ pattern of racketeering activity. Each act of mail or wire fraud

caused further injury to Plaintiffs’ business or property due to the reliance on the

falsity of the certificates of conformance and mill test reports.

      118. As a direct and proximate cause of Defendants’ actions in violation of

18 U.S.C. § 1962(c), Plaintiffs have been and continue to be injured in their

business and property within the meaning of 18 U.S.C. § 1964(c) in an amount to

be determined upon trial of this action, which sum is to be duly trebled in

accordance with 18 U.S.C. § 1964.

      119. Plaintiffs are entitled to recover reasonable attorneys’ fees and costs

pursuant to 18 U.S.C. § 1964(c).

        COUNT II—RICO CONSPIRACY UNDER 18 U.S.C. § 1964(c)

      120. Plaintiffs repeat and reallege each of the allegations contained in

paragraphs 1 through 119 as if fully set forth herein.

      121. Plaintiffs are informed and believe and on that basis allege that

Defendants’ actions and conduct, and their agents’ actions and conduct, as alleged

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herein were at all times known to the officers, directors, executives, supervisors,

managers and authorized agents of the each of the corporate Defendants, and were

at all times known to the individual Defendants, but, that Defendants nevertheless

engaged in such conduct, and further, that each Defendant knowingly and

intentionally permitted and acquiesced in such conduct on the part of each other

Defendant, and in the conduct of the employees, servants, and agents of each other

Defendant. Plaintiffs are further informed and believe and on that basis allege that

Defendants had advance knowledge of the false mill test reports and certificates of

conformance, and of their transmission to Plaintiffs in order to induce the sale of

inferior, untested steel, and continued to allow such actions to continue by

disregarding the fraudulent activity and jeopardizing the safety of others.

      122. As stated in the facts set forth above, Defendants agreed to and

directed that the racketeering activity of mail and wire fraud would be conducted

by the association-in-fact enterprise.     Such agreement is evidenced by the

revelation of Rich Kuny that Bruce Adelstein of Worldwide directed him to

prepare false certificates of conformance based upon information provided by

General Purpose and its employees, including Dick Diamondstone.               Such

agreement is also evidenced by the fact that Lance Chatkin, on behalf of General

Purpose, prepared and transmitted to Worldwide false information regarding

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purported standards and grades of steel, for which no actual supporting testing

existed, with the intent that Worldwide transmit this false information to Leeco to

induce Leeco to purchase the steel.

      123. 18 U.S.C. § 1962(c) prohibits conducting the affairs of an enterprise

through a pattern of racketeering activity. 18 U.S.C. § 1962(d) makes it “unlawful

to conspire to violate [18 U.S.C. § 1962(c)].” Hence, 18 U.S.C. § 1962(d) makes it

unlawful to conspire to conduct the affairs of an enterprise through a pattern of

racketeering activity.

      124. Defendants conspired and agreed with each other to engage in the

conduct, or attempted conduct, stated above, and also conspired and agreed to aid

each other in the commission of the acts of mail and wire fraud as stated above.

      125. Defendants conspired, planned and schemed to conduct the affairs of

the association-in-fact enterprise through a pattern of racketeering activity by

committing multiple acts of mail and wire fraud in violation of 18 U.S.C. §

1962(c).

      126. Each Defendant combined, conspired and confederated with each

other to commit a pattern of racketeering activity, and thereby violated 18 U.S.C. §

1962(d) by conspiring to violate 18 U.S.C. § 1962(c).




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      127. As a direct and proximate cause of Defendants’ actions in violation of

18 U.S.C. § 1962(d), Plaintiffs have been and continue to be injured in their

business and property within the meaning of 18 U.S.C. § 1964(c) in an amount to

be determined upon trial of this action, which sum is to be duly trebled in

accordance with 18 U.S.C. § 1964.

      128. Plaintiffs are entitled to recover reasonable attorneys’ fees and costs

pursuant to 18 U.S.C. § 1964(c).

           COUNT III—FRAUDULENT MISREPRESENTATION

      129. Plaintiffs repeat and reallege each of the allegations contained in

paragraphs 1 through 128 as if fully set forth herein.

      130. Worldwide, General Purpose, Lance Chatkin and Bruce Adelstein

falsely represented to O’Neal and Leeco that Worldwide was supplying steel in

accordance with the specifications required.

      131. As detailed above, Worldwide, General Purpose, Lance Chatkin and

Bruce Adelstein provided to O’Neal and Leeco fabricated and false certificates of

conformance and mill test reports which indicated that the steel did, in fact, meet

the specifications.




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      132. The representations made by Worldwide, General Purpose, Lance

Chatkin and Bruce Adelstein were made willfully to deceive or recklessly without

knowledge.

      133. O’Neal and Leeco reasonably relied upon the representations made by

Worldwide, General Purpose, Lance Chatkin and Bruce Adelstein and have been

damaged as a result.

      134. O’Neal and Leeco seek an award of compensatory and punitive

damages for Worldwide, General Purpose, Lance Chatkin and Bruce Adelstein’s

fraudulent conduct, and any other damages permitted by law.

     COUNT IV—NEGLIGENCE AND/OR WANTONNESS AGAINST
                      WORLDWIDE

      135. Plaintiffs repeat and reallege each of the allegations contained in

paragraphs 1 through 134 as if fully set forth herein.

      136. Worldwide had a duty to ensure that the steel that it was supplying to

O’Neal and Leeco met the specifications required and which Worldwide

represented the steel met.

      137. Worldwide acted negligently and/or wantonly in failing to supply

O’Neal and Leeco with conforming steel.




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      138. Worldwide acted negligently and/or wantonly in failing to test the

steel prior to shipping.

      139. Worldwide acted negligently and/or wantonly by supplying O’Neal

and Leeco with incorrect certificates of conformance and mill test reports, or

Worldwide acted wantonly, recklessly or intentionally by supplying O’Neal and

Leeco with fabricated and falsified certificates of conformance and mill test

reports.

      140. O’Neal and Leeco have been damaged as a proximate cause of

Worldwide’s negligent, wanton, reckless and/or intentional conduct.

      141. O’Neal and Leeco seek an award of compensatory and punitive

damages for Worldwide’s conduct, and any other damages permitted by law.

      COUNT V—NEGLIGENCE AND/OR WANTONNESS AGAINST
                    GENERAL PURPOSE

      142. Plaintiffs repeat and reallege each of the allegations contained in

paragraphs 1 through 141 as if fully set forth herein.

      143. General Purpose had a duty to ensure that the steel that it was

supplying to Worldwide to fulfill orders placed by O’Neal and Leeco met the

specifications required and which General Purpose represented the steel met.




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      144. General Purpose acted negligently and/or wantonly in failing to

supply Worldwide with steel conforming to O’Neal’s and Leeco’s specifications.

      145. General Purpose acted negligently and/or wantonly in failing to test

the steel prior to shipping.

      146. General Purpose acted negligently and/or wantonly in invoicing

O’Neal and Leeco for steel that did not conform to O’Neal’s and Leeco’s

specifications, and for representing on those invoices that the steel did, in fact,

meet the specifications.

      147. General Purpose acted negligently and/or wantonly in collecting

money from O’Neal and Leeco for steel that did not conform to O’Neal’s and

Leeco’s specifications.

      148. O’Neal and Leeco have been damaged as a proximate cause of

General Purpose’s negligent, wanton, reckless and/or intentional conduct.

      149.    O’Neal and Leeco seek an award of compensatory and punitive

damages for General Purpose’s conduct, and any other damages permitted by law.

                       COUNT VI—CIVIL CONSPIRACY

      150. Plaintiffs repeat and reallege each of the allegations contained in

paragraphs 1 through 149 as if fully set forth herein.




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      151. Worldwide, General Purpose, Lance Chatkin and Bruce Adelstein

conspired together to unlawfully, and with malice aforethought, defraud O’Neal

and Leeco by providing to O’Neal and Leeco fabricated and false certificates of

conformance and mill test reports which represented that the steel covered by the

certificates of conformance or mill test reports met O’Neal’s and Leeco’s

specifications for purchase.

      152. O’Neal and Leeco reasonably relied upon the unlawful, fraudulent

representations made by Worldwide, General Purpose, Lance Chatkin and Bruce

Adelstein and have been damaged as a result.

      153. O’Neal and Leeco seek an award of compensatory and punitive

damages for Worldwide, General Purpose, Lance Chatkin and Bruce Adelstein’s

conspiracy to commit unlawful, fraudulent conduct, and any other damages

permitted by law.

                    COUNT VII—BREACH OF CONTRACT

      154. Plaintiffs repeat and reallege each of the allegations contained in

paragraphs 1 through 153 as if fully set forth herein.

      155. In accepting and filling the purchase orders from O’Neal and Leeco,

Worldwide contracted and agreed to supply steel which met the specifications

stated therein.

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      156. Worldwide has breached these contracts by failing to supply O’Neal

and Leeco with steel meeting the specifications required and by falsely

representing that the steel did meet the specifications.

      157. As a result of Worldwide’s breach, O’Neal and Leeco have incurred

substantial damages and expect to incur additional damages in the future, as set

forth above.

      158. O’Neal and Leeco seek an award of compensatory, incidental, and

consequential damages for Worldwide’s conduct, and any other damages permitted

by law.

               COUNT VIII—BREACH OF EXPRESS WARRANTY

      159. Plaintiffs repeat and reallege each of the allegations contained in

paragraphs 1 through 158 as if fully set forth herein.

      160. Worldwide expressly warranted to O’Neal and Leeco that the steel

sold by Worldwide to them met the specifications required, and such express

warranty became part of the basis of the bargain.

      161. Worldwide has breached its express warranty by supplying O’Neal

and Leeco with defective and nonconforming goods which do not meet the

specifications represented.




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      162. O’Neal and Leeco have been damaged by the breach and seek an

award of compensatory, incidental and consequential damages, and any other

damages permitted by law.

            COUNT IX—BREACH OF IMPLIED WARRANTIES

      163. Plaintiffs repeat and reallege each of the allegations contained in

paragraphs 1 through 162 as if fully set forth herein.

      164. Pursuant to the Uniform Commercial Code, within each sale of goods

is implied the warranty of merchantability and the warranty of fitness for a

particular purpose.

      165. Worldwide failed to supply O’Neal and Leeco with goods that are

merchantable or fit for the particular purposes for which they are used.

      166. Worldwide failed to supply O’Neal and Leeco with goods that are fit

for their particular purpose by failing to supply goods which met the required

standards or grades.

      167. Worldwide breached these implied warranties by supplying O’Neal

and Leeco with non-conforming, defective product that did not meet the

specifications and requirements.




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      168. O’Neal and Leeco have been damaged by the breach and seek an

award of compensatory, incidental and consequential damages, and any other

damages permitted by law.

      WHEREFORE, PREMISES CONSIDERED, Plaintiffs O’Neal Steel, Inc.,

and Leeco Steel, LLC, demand judgment on the foregoing counts against

Defendants Worldwide Steel Unlimited, Inc., General Purpose Steel, Inc., Lance

Chatkin and Bruce Adelstein:

      (a) awarding compensatory damages in an amount to be determined upon

trial of this action, but not less than $5,500,000.00, plus

      (b) treble damages pursuant to 18 U.S.C. § 1964;

      (c) incidental, consequential, and punitive damages;

      (d) costs, attorneys’ fees, and expenses;

      (e) prejudgment interest; and

      (f) awarding such further and different relief as the Court deems just.

                  COUNT X—DECLARATORY JUDGMENT

      169. Plaintiffs repeat and reallege each of the allegations contained in

paragraphs 1 through 168 as if fully set forth herein.




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      170. Defendants Worldwide, General Purpose, Chatkin and Adelstein

supplied defective product to O’Neal and Leeco, which O’Neal and Leeco then

sold to its customers.

      171. O’Neal and Leeco were induced to act by the misrepresentations made

by Defendants Worldwide, General Purpose, Chatkin and Adelstein, upon which

O’Neal and Leeco justifiably and reasonably relied.

      172.    O’Neal and Leeco are not guilty of any fault. Instead, the fault of

Defendants Worldwide, General Purpose, Chatkin and Adelstein was the efficient

cause of all injury both to O’Neal and Leeco and to O’Neal’s and Leeco’s

customers and to any third-party users who might be injured by non-conforming

steel incorporated into end products.

      173. O’Neal and Leeco have been forced to resolve potential claims with

their customers by virtue of O’Neal’s and Leeco’s provision of potentially non-

conforming steel in violation of the contracts with their customers.

      174. As early as April 5, 2010, O’Neal wrote to Worldwide instructing

Worldwide that, although the full impact of the situation was not yet known,

O’Neal would hold Worldwide responsible for all costs incurred by O’Neal and by

O’Neal’s customers. O’Neal received no response.




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      175. Counsel for O’Neal and Leeco formalized this position with a letter to

counsel for General Purpose and Worldwide on May 12, 2010, informing them of

the magnitude of damages suffered by Plaintiffs’ customers and inviting both

entities to participate in communicating with customers regarding resolution of

those claims.    O’Neal and Leeco received no response other than a denial of

liability. O’Neal and Leeco then proceeded to finalize the resolution of the claims

of their customers.

      The total amount of O’Neal’s and Leeco’s resolution of customers’ claims to

date does not reflect the total amount of O’Neal’s and Leeco’s exposure and

potential damages, as O’Neal and Leeco may be exposed to liability by virtue of

other non-conforming steel that may be incorporated into end products of other

customers to an extent not yet known.

      WHEREFORE, PREMISES CONSIDERED, Plaintiffs O’Neal Steel, Inc.,

and Leeco Steel, LLC, seek an order and/or entry of judgment from the trial court

or a determination by a jury requiring Defendants Worldwide Steel Unlimited,

Inc., General Purpose Steel, Inc., Lance Chatkin and Bruce Adelstein to indemnify

and hold harmless O’Neal and Leeco for sums paid to defend and settle claims

brought by their customers as a result of the sale of the non-conforming steel

fraudulently supplied by Defendants.

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   PLAINTIFFS DEMAND A TRIAL BY STRUCK JURY.




                            /s/Crawford S. McGivaren, Jr.
                            Crawford S. McGivaren, Jr.
                            Herbert H. West, Jr.
                            Annette Lanning Kinderman

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                            Inc. and Leeco Steel, LLC




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          PLAINTIFFS REQUEST SERVICE BY EXPRESS MAIL
                AND BY UNITED STATES MARSHAL



Serve Defendants by United States Marshal:

Worldwide Steel Unlimited, Inc., c/o President Lance Chatkin
1001 East Entry Drive
Suite 200
Pittsburgh, Pennsylvania 15216

General Purpose Steel, Inc., c/o President Lance Chatkin
505 Braddock Avenue
Turtle Creek, Pennsylvania 15145-2066

Lance Chatkin
300 Meadow Court
Monroeville, Pennsylvania 15146

Serve Defendants by Express Mail:

Bruce Adelstein
18 Laurel Hill Lane
Pepper Pike, Ohio 44124




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